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11
                           UNITED STATES DISTRICT COURT
12                        CENTRAL DISTRICT OF CALIFORNIA
      FEDERAL TRADE COMMISSION,
13                                              Case No. 2:15-cv-4527-GW(PLAx)
                 Plaintiff,
14                                              PROOF OF SERVICE
           v.
15
      BUNZAI MEDIA GROUP, INC., a
16    California corporation, also doing
      business as AuraVie and Miracle Face
17    Kit, et al.,

18               Defendants.

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                                      PROOF OF SERVICE
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 1                                   PROOF OF SERVICE

 2   STATE OF TEXAS, COUNTY OF DALLAS

 3         At the time of service, I was over 18 years of age and not a party to this action. I
     am employed in the County of Dallas, State of Texas as a litigation assistant by the law
 4   firm of Scheef & Stone, LLP, 500 N. Akard Street, Suite 2700, Dallas, Texas 75201.

 5          On August 10, 2015, I served true copies of the following document described
     as RECEIVER’S SCHEDULE OF CREDITORS [Docket No. 140] on the creditors
 6   listed on the attached Exhibit A, as follows:

 7   BY MAIL: I enclosed the document in a sealed envelope or package addressed to the
     persons at the addresses listed on Exhibit A and placed the envelope for collection and
 8   mailing, following our ordinary business practices. I am readily familiar with Scheef
     & Stone’s practice for collecting and processing correspondence for mailing. On the
 9   same day that the correspondence is placed for collection and mailing, it is deposited in
     the ordinary course of business with the United States Postal Service, in a sealed
10   envelope with postage fully prepaid.

11         I declare under penalty of perjury under the laws of the State of Texas that the
     foregoing is true and correct.
12
           Executed on August 10, 2015, at Dallas, Texas.
13

14
                                            Dena Kirby Lambert
15                                          Litigation Assistant to Kelly M. Crawford

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                                         PROOF OF SERVICE
